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     ""'AO 245B (CASD) (Rev 12/11) Judgment in a Criminal Case
                Sheet 1




                                               UNITED STATES DISTRICT COUll! JON -5 Aft                                                     .«   ..••.



                                                   SOUTHERN DISTRICT OF CALIFORNIA"                                                        2·09
                     UNITED STATES OF AMERICA                                       JUDGMENT IN                A~~~~i~{~lUPJ1R~L
                                         v.                                        (For Offenses Committed On or After November I, 1987)

                     ROBERT JOSEPH ZABIEREK (I)                                                                                             !'lfPI1TV
                                                                                    Case Number: llCR1765-L
                                                                                    LUPE C. RODRIGUEZ, JR.
                                                                                    Defendant's Attorney
     REGISTRATION NO. 82995198

     o
     THE DEFENDANT:
     181 pleaded guilty to count(s) TWO (2) OF THE INDICTMENT
     o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                          Nature of Offense                                                                             Number(s)
14 USC 88(c)                          UNNECESSARY SEARCH AND RESCUE OPERATION                                                                       2




                                                                     4 _ ofthisjudgment. The sentence is imposed pursuant
        The defendant is sentenced as provided in pages 2 through _ _...:._
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not gUilty on count(s)
                                                            -----------------------------
 181 Count(s) REMAINING                                             181 0            is        are         dismissed on the motion ofthe United States.
 181 Assessment: $100

 181 No fine                                        o Forfeiture pursuant to order filed ___________ , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               JUNE 4, 2012




                                                                                                                                                         llCR1765-L
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AO 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
           Sheet 2 -- Probation
                                                                                                             Judgment-Page        2    of        4
DEFENDANT: ROBERT JOSEPH ZABIEREK (1)                                                                 a
CASE ~UMBER: llCR1765-L
                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of:
          !
FIVE ($) YEARS.

The deftindant shall not commit another federal, state, or local crime.
For offenses committed on or after September 13, 1994:
The defllndant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

o      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
       The defendant shall comply with tile requirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualitying offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                       STANDARD CONDITIONS OF SUPERVISION
  I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
 2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
 3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
 4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
 6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
 7)     the defendant shall refrain from excessive use ofalcohol and shall not purchase, possess, use, distribute, or administer any controlled
        substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
 8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
 9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
        any contraband observed in plain view of the probation officer;
II)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
        officer;
12)     the defendant shall not enter into any agreement to act as an infurmer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
        criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
        the defendant's compliance with such notification requirement.



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        AO 245B (CASD) (Rev. 12111 Judgment in a Criminal Case
                   Sheet 3 Special Conditions


       DEFENDANT: ROBERT JOSEPH ZABIEREK (1)
       CASE NUMBER: llCR1765-L
                                                                                                    ..   Judgment-Page ---l.-.. of _.....:.4_ _




                                              SPECIAL CONDITIONS OF SUPERVISION
!81 Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonabJe manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

D If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
D Not enter the Republic of Mexico without written permission ofthe Court or probation officer.
D Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
!81 Notify the Collections Unit of the U.S. Attorney's Office, and the U.S. Probation Office, of any interest in property obtained, directly or
    indirectly, including any interest obtained under any other name, or entity, including a trust, partnership or corporation, until any fine or
    restitution order is paid in full.



D Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
D Provide complete disclosure of personal and business financial records to the probation officer as requested.
o   Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.
D Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within       days.
D Complete              hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
!81 Notify the Collections Unit of the U.S. Attorney's Office, and the U.S. Probation Office, before the defendant transfers any interest in
    property owned directly or indirectly by the defendant.




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AO 245S        Judgment in Criminal Case
          ,    Sheet 5 - Criminal Monetary Penalties
                                                                                                       Judgmenl- Page _ _4__ of          4

 DEFENDANT: ROBERT JOSEPH ZABIEREK (1)                                                          II
 CASE NUMBER: llCR1765-L
                                                             RESTITUTION

The defendant shall pay restitution in the amount of _ _ _$_7_4_,4_0_4._2_0_ _ _ unto the United States of America.




          This sum shall be paid           __ immediately.
                                            " as follows:

              Pay restitution in the amount 0[$74,404.20, through the Clerk, U.S. District Court, payable forthwith or at a rate to be
              determined by probation.

              restitution payable to:

              U.S. Coast Guard
              U.S. Department of Homeland Security
              USCG Finance Center (OGR)
              1430A Kristina Way
              Chesapeake, WA 23326




        The Court has determined that the defendant        does not    have the ability to pay interest. It is ordered that:

    "           The interest requirement is waived.

                The interest is modified as follows:




                                                                                                      IICRI765-L
